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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          SACV 20-844 JVS (JDEx)                                       Date   May 8, 2020
 Title             Kevin Muldoon v. Gavin Newsom et al


 Present: The                    James V. Selna, U.S. District Court Judge
 Honorable
                         Lisa Bredahl                                         Not Present
                         Deputy Clerk                                       Court Reporter
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                          Not Present                                         Not Present

 Proceedings:           [IN CHAMBERS] Order Regarding Plaintiff's Application for
                        Temporary Restraining Order

       Plaintiff Kevin Muldoon (“Muldoon”) applied ex parte for a temporary restraining
order (“TRO”) against Gavin Newsom, in his official capacity as the Governor of
California; Xavier Becerra, in his official capacity as the Attorney General of California;
Mark Ghilarducci, in his official capacity as the Director, Governor’s Office of
Emergency Services; and Wade Crowfoot, in his official capacity as the Secretary,
California Natural Resources Agency (together, “Defendants”). TRO App., Dkt. No. 5.
Defendants filed an opposition. Opp’n, Dkt. No. 14.

         For the following reasons, the Court DENIES Muldoon’s application.

                                                    I. BACKGROUND

       On May 4, 2020, Muldoon filed a Complaint against Defendants, alleging that the
COVID-19-related closure of the beaches in Orange County, California, including the
beaches in Newport Beach, infringes his federal and state constitutional rights. See
generally, Complaint, Dkt. No. 2. Although he is a Councilman for Newport Beach,
Muldoon sues in his individual capacity. Id. ¶ 13. His suit stems from the Governor’s
Office of Emergency Services April 30 letter to Orange County Supervisors mandating
that all Orange County beaches close as of May 1. Id. ¶ 29; see also Declaration of Lara
Haddad (“Haddad Decl.”), Dkt. No. 14-1, Ex. 3.

      Muldoon “seeks by [his TRO] a return to the status quo ante, that is the status of
the beaches of Orange County being open to the public prior to the Governor’s unlawful
April 30, 2020 order.” TRO App. at 15.
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        On May 6, the Governor’s Office of Emergency Services and California Natural
Resources Agency wrote to Newport Beach, stating that the State had reviewed and
approved the City’s COVID-19 Beach Access Plan. Haddad Decl., Ex. 13. Similar
approvals had been granted for the cities of Dana Point, Huntington Beach, Laguna
Beach, Seal Beach, and San Clemente. Id., Exs. 4, 5, 8-10. At present, the beaches of all
cities in Orange County have been opened.

                                  II. LEGAL STANDARD

        For a temporary restraining order to issue, the plaintiff has the burden to establish
(1) a likelihood of success on the merits, (2) the possibility of irreparable injury if the
preliminary relief is not granted, (3) the balance of hardships favors the plaintiff, and (4)
advancement of the public interest. Winter v. Natural Res. Def. Council, Inc., 129 S. Ct.
365, 374 (2008); see also Raich v. Ashcroft, 352 F.3d 1222, 1227 (9th Cir. 2003).
In the Ninth Circuit, the plaintiff may meet this burden if it “demonstrates either a
combination of probable success on the merits and the possibility of irreparable injury or
that serious questions are raised and the balance of hardships tips sharply in his favor.”
Save Our Sonoran, Inc. v. Flowers, 408 F.3d 1113, 1120 (9th Cir. 2005) (internal
quotations and citation omitted); Alliance for the Wild Rockies v. Cottrell, 632 F.3d
1127, 1134-35 (9th Cir. 2011). “These two formulations represent two points on a sliding
scale in which the required degree of irreparable harm increases as the probability of
success decreases. They are not separate tests but rather outer reaches of a single
continuum.” Save Our Sonoran, Inc., 408 F.3d at 1120 (internal quotations and citations
omitted). “To reach this sliding scale analysis, however, a moving party must, at an
‘irreducible minimum,’ demonstrate some chance of success on the merits.” Global
Horizons, Inc. v. U.S. Dep't of Labor, 510 F.3d 1054, 1058 (9th Cir. 2007).

                                     III. DISCUSSION

A.       The action is moot

       “[F]ederal courts have no jurisdiction to hear a case that is moot, that is, where no
actual or live controversy exists.” Cook Inlet Treaty Tribes v. Shalala, 166 F.3d 986, 989
(9th Cir. 1999). A case becomes moot “when the issues presented are no longer ‘live’ or
the parties lack a legally cognizable interest in the outcome.” Already, LLC v. Nike, Inc.,
133 S. Ct. 721, 726 (2013) (citation and internal quotation marks omitted).
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       “Closely related to Article III mootness is the ‘prudential mootness’ arising from
doctrines of remedial discretion.” Sierra Club v. Babbitt, 69 F. Supp. 2d 1202, 1244
(E.D. Cal. 1999). Prudential mootness addresses “not the power to grant relief but the
court’s discretion in the exercise of that power.” Chamber of Commerce v. United States
Dep’t of Energy, 627 F.2d 289, 291 (D.C. Cir. 1980). A controversy may be “so
attenuated that considerations of prudence and comity for coordinate branches of
government counsel the court to stay its hand, and to withhold relief it has the power to
grant.” Id.

      Defendants argue that because the beaches in Newport Beach, as well as all other
municipal beaches in the County, have reopened, albeit with restrictions, Muldoon’s
application for a TRO is moot, and he cannot demonstrate either a likelihood of success
on the merits or irreparable harm. Opp’n at 8-9.

      The Court agrees. The beaches in Orange County are once again open to the
public Haddad Decl., Ex. 13. Therefore, the Court is unable to provide the relief that
Muldoon seeks, and his application for an injunction is moot. TRO at 15.

A.       Even if his case were not moot, Muldoon has not satisfied the Winter factors

      In any event, the Court finds that Muldoon has not met his burden of showing that
the Winter factors are present here.

       Muldoon argues that the closure of the Newport Beach beaches and other beaches
violates his constitutional rights. TRO App. at 16-23. But “a community has the right to
protect itself against an epidemic of disease which threatens the safety of its members.”
Jacobson v. Commonwealth of Massachusetts, 197 U.S. 11, 27 (1905). States and
municipalities have greater leeway to burden constitutionally protected rights during
public emergencies:

         In every well-ordered society charged with the duty of conserving the safety of its
         members the rights of the individual in respect of his liberty may at times, under the
         pressure of great dangers, be subjected to such restraint, to be enforced by reasonable
         regulations, as the safety of the general public may demand.

Id. at 29. The act of closing the municipal beaches – which has been lifted – would likely
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survive the deferential analysis the Court employs in response to an executive action
taken pursuant to the Governor’s emergency powers. See Cross-Culture Christian Ctr. v.
Newsom, 2020 WL 2121111, at * 4-*5 (E.D. Cal. May 5, 2020). Thus, the Court finds
Muldoon is not likely to succeed on the merits of his challenge to the closure of the
beaches.

       Notably, Muldoon does not declare that he attempted to visit a local beach and was
prevented from doing so, or that he even wanted to go to the beach. See generally,
Declaration of Kevin Muldoon, Dkt. No. 5-1. This deficiency, in combination with the
re-opening of Newport Beach’s beaches, casts doubt on Muldoon’s claims regarding
irreparable harm.

       Finally, the balance of hardships tips substantially in favor of state, given the
public’s strong interest in reducing the spread of COVID-19 with measures designed to
limit physical contact. See Gish v. Newsom, 2020 WL 1979970, at *5 (C.D. Cal. April
23, 2020).

                                    IV. CONCLUSION

      For the foregoing reasons, the Court DENIES the motion. For like reasons, the
Court declines to issue an order to show cause regarding a preliminary injunction.


                 IT IS SO ORDERED.



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